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EXHIBIT C
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

Case No. 20-10343 (LSS)

Jointly Administered
Debtors.

Nee Nee Nee ee ee ee

Re: Docket No. 5902

DECLARATION OF TIMOTHY KOSNOFF REGARDING DOCUMENTS FILED
UNDER SEAL IN CONNECTION WITH THE VERIFIED STATEMENT OF ABUSED
IN SCOUTING PURSUANT TO RULE OF BANKRUPTCY PROCEDURE 2019

L Timothy Kosnoff, hereby declare under penalty of perjury:

1. I am a partner at the law firm of Kosnoff Law, PLLC. I am a member in good
standing of the bar of the State of Washington.

2. I represent the Abuse Victims listed in Exhibit A to the Verified Statement together
with the Law Firms. I submit this declaration in connection with the Verified Statement of Abused
in Scouting Pursuant to Bankruptcy Rule 2019, filed herewith (the “Verified Statement” filed by
“ATS”). I have personal knowledge of the facts stated herein. If called as a witness in this action,
I could and would testify competently to the contents of this declaration.

3. Attached as Exhibit A to the Verified Statement are the true and correct copies of
the following:

a. Documents stating the name and address of each of AIS’s clients (each, a
“ATS Client’);

b. An exemplar of AIS’s engagement letter with AIS Clients, which provides
authority for the Law Firms to associate with other law firms in the

prosecution of the claims on behalf of each AIS Client. For the avoidance
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of doubt, each AIS Client has signed an engagement letter that is identical
to the exemplar in all substantive respects;
Pursuant to 28 U.S.C, § 1746, I declare under perjury that the foregoing is true and correct.

Timothy D Kosnoff
Dated: August 9, 2021

Timothy Kosnoff
Seattle, Washington

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
BOY SCOUTS OF AMERICA AND ) Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, )
} Jointly Administered
Debtors. )
) Re: Docket No. 5902

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DECLARATION OF STEWART J. EISENBERG REGARDING DOCUMENTS FILED
UNDER SEAL IN CONNECTION WITH THE VERIFIED STATEMENT OF ABUSED
IN SCOUTING PURSUANT TO RULE OF BANKRUPTCY PROCEDURE 2019

I, Stewart J. Eisenberg. hereby declare under penalty of perjury:

1. I am a partner at the law firm of Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck,
P.C., located at 1634 Spruce Street, Philadelphia, PA 19103. I am a member in good sianding of
the bars of the Commonwealth of Pennsylvania, the United States District Court for the Eastern
District of Pennsylvania and the United States Court of Appeals for the Third Circuit.

2, I represent the Abuse Victims listed in Exhibit A to the Verified Statement together
with the Law Firms. I submit this declaration in connection with the Verified Statement of Abused
in Scouting Pursyant to Bankruptcy Rule 2019, filed herewith (the “Verified Statement” filed by
“AIS”). I have personal knowledge of the facts stated herein. If called as a witness in this action,
I could and would testify competently to the contents of this declaration.

3, Attached as Exhibit A to the Verified Statement are the true and correct copies of
the following:

a. Documents stating the name and address of each of AIS’s clients (each, a
“AIS Client”);

b. An exemplar of AIS’s engagement letter with AIS Clients, which provides

authority for the Law Firms to associate with other law firms in the
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prosecution of the claims on behalf of each AIS Client. For the avoidance
of doubt, each AIS Client has signed an engagement letter that is identical
to the exemplar in all substantive respects;

Pursuant to 28 U.S.C. § 1746, I declare under perjury that the foregoing is true and correct.

Dated: August 9, 2021 2

Stewart J. Eisenberg
Philadelphia, PA
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

Case No. 20-10343 (LSS)

Jointly Administered
Debtors.

Name Nee” Saree” Sine” meee” Sie” cee”

Re: Docket No. 5902

DECLARATION OF ANDREW VAN ARSDALE REGARDING DOCUMENTS FILED
UNDER SEAL IN CONNECTION WITH THE VERIFIED STATEMENT OF ABUSED
IN SCOUTING PURSUANT TO RULE OF BANKRUPTCY PROCEDURE 2019

1, Andrew Van Arsdale, hereby declare under penalty of perjury:

1, I am a partner at the law firm of AVA Law Group, Inc., headquartered at 3667
Voltaire Street, San Diego, CA 92106. I am a member in good standing of the bars of California,
Montana and Nevada.

2. [represent the Abuse Victims listed in Exhibit A to the Verified Statement together
with the Law Firms. I submit this declaration in connection with the Verified Statement of Abused
in Scouting Pursuant to Bankruptcy Rule 2019, filed herewith (the “Verified Statement” filed by
“AIS”). I have personal knowledge of the facts stated herein. If called as a witness in this action,
I could and would testify competently to the contents of this declaration.

3, Attached as Exhibit A to the Verified Statement are the true and correct copies of
the following:

a. Documents stating the name and address of each of AIS’s clients (each, a
“AIS Client”);

b. An exemplar of AIS’s engagement letter with AIS Clients, which provides
authority for the Law Firms to associate with other law firms in the

prosecution of the claims on behalf of each AIS Client. For the avoidance
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of doubt, each AIS Client has signed an engagement letter that is identical
to the exemplar in all substantive respects;

Pursuant to 28 U.S.C. § 1746, I declare under perjury that the foregoing is true and correct.

— 2?
Dated: August 9, 2021 go fe

Andrew Van Arsdale

San Diego, California
